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                             UNITED STATES DISTRICT COURT
                             FOR THE DISTRICT OF COLUMBIA


 OLIVIA PARROTT, et al.,

         Plaintiffs,

         v.
                                                        Civil Action No. 1:21-cv-002930-RCL
 DISTRICT OF COLUMBIA,

         Defendant.


DEFENDANT’S OPPOSITION TO PLAINTIFFS’ MOTION FOR RECONSIDERATION

        Plaintiffs’ motion for reconsideration, or in the alternative, motion for leave to amend

[107] is symptomatic of their broader failure to diligently litigate this case. Granting either of

their requests at this late stage would be unwarranted and would significantly prejudice the

District. As explained below, both requests should be denied because they are made too late and

with too little merit.

        First, Plaintiffs ask this Court to reconsider its ruling on the District’s motion to dismiss

because (1) the D.C. Circuit’s opinion in Asinor v. District of Columbia, 111 F.4th 1249 (D.C.

Cir. 2024), purportedly compels revision of the Court’s analysis of their Fourth and Fifth

Amendment claims; (2) the Court “misconstrued” their allegations in support of their Fourth

Amendment claim; and (3) the Court erred in its analysis of Plaintiffs’ takings claim. As an

initial matter, Plaintiffs had ample time to raise these arguments previously and failed to do so.

Asinor was decided more than six months ago, and the Court “construed” Plaintiffs’ allegations

more than two years ago. Indeed, on April 20, 2023, Plaintiffs filed a notice stating their intent

to file a motion for reconsideration “within the next three weeks approximately.” That motion

never came. Next, Plaintiffs represented to the Court on October 2, 2024, that they “may” need

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to seek reconsideration of the motion to dismiss order based on Asinor. They then did nothing

for four months, eventually filing their motion with only three weeks left in fact discovery.

Regardless, Plaintiffs’ reliance on Asinor is a red herring. Rather than conflict with Asinor, this

Court’s analysis essentially predicted it. In reality, Plaintiffs invoke Asinor solely in an attempt

to cover up the fact that the “merits” of their motion for reconsideration have existed for more

than two years. But the motion is meritless nonetheless.

       Second, anticipating that the Court will acknowledge the belated and flawed nature of

their motion for reconsideration, Plaintiffs seek leave to amend so that they may resurrect the

claims themselves. The Court should reject the motion for leave to amend out-of-hand because it

fails to comply with the local rules. Local Rule 15.1 requires the party seeking leave to amend to

attach the proposed amended complaint. Plaintiffs fail to even acknowledge that requirement let

alone comply with it. Nor did they satisfy their obligation to confer before filing under Local

Rule 7(m); indeed, counsel’s 7(m) certification does not even feign compliance as to their

request to amend the operative complaint. Even if the Court considers the merits of this request,

ample grounds exist to deny it—it comes more than two years after the Court’s opinion on the

District’s motion to dismiss and more than six months after Asinor; it would add claims that are

futile; and it would force the District to redo discovery.

                                         BACKGROUND

       On March 15, 2022, Plaintiffs filed the Amended Complaint [18]. The District moved to

dismiss [22], and on February 22, 2023, the Court granted the District’s motion in part and

denied it in part [45] (February 22 Order). Less than two months later, Plaintiffs filed a “notice”

[51] that stated their intent to seek reconsideration of the February 22 Order “within three weeks

approximately.” Plaintiffs did not identify any basis for seeking reconsideration in their notice.



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        On May 31, 2023, the Court entered a scheduling order [52] setting November 30, 2023,

as the close of fact discovery on liability and class issues. On November 6, 2023, Plaintiffs, with

the District’s consent, moved to extend discovery until February 29, 2024, and the Court granted

that motion [61]. On January 29, 2024, Plaintiffs, again with the District’s consent, moved to

extend discovery until June 28, 2024, and the Court granted that motion [87]. On June 3, 2024,

without the District’s consent, Plaintiffs moved for their third extension of discovery [88],

seeking an extension until January 15, 2025. After the District filed its opposition [90],

explaining why Plaintiffs had not been diligent during the prior five months in litigating the case,

the Parties agreed to compromise and jointly moved for an extension of discovery until October

28, 2024 [93]. The Court granted that motion [94], and set the close of discovery at October 28,

2024.

        In September 2024, Plaintiffs approached the District about another extension of

discovery. In response to Plaintiffs’ request for a six-month extension, the District proposed a

three month extension. See Def.’s Opp’n to Pls.’ Mot. to Extend Discovery Deadlines [102] at 2.

Plaintiffs rejected that proposal and moved for a six-month extension. Pls.’ Mot. to Extend

Discovery Deadlines [101] (Pls.’ Mot. to Extend). In that motion, Plaintiffs argued that an

extension was warranted for several reasons. First, Plaintiffs argued that a deposition on

September 25, 2024, “revealed” the names of several witnesses and that Plaintiffs needed

additional time “to depose these witnesses.” Id. at 4. Plaintiffs conducted a single deposition on

October 23, 2024, and have not taken any others since then. Second, Plaintiffs argued that

Asinor “may” require Plaintiffs to seek reconsideration of the February 22 Order and asserted

“that should Asinor warrant reconsideration of the Court’s earlier Order, it would be much more

convenient to all involved if discovery were still open and accommodations could more easily be



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made for the wider set of issues that would then be in play.” Id. at 5. Plaintiffs have now filed

that motion for reconsideration, but did so knowing that discovery would close before the motion

was fully briefed. Finally, Plaintiffs argued that the addition of new co-counsel would provide

“Plaintiffs the resources this case demands and help move things along in a timely and

expeditious manner.” Id. at 6.

       While the Court did not provide Plaintiffs with the six-month extension they requested,

on October 28, 2024, the Court extended the close of fact discovery by more than four-and-a-half

months to March 15, 2025 [106]. Between October 28, 2024, and February 12, 2025, the totality

of Plaintiffs’ discovery efforts are as follows: on November 12, 2024, the Parties had a meet-

and-confer during which Plaintiffs were expected to identify what they perceived as outstanding

discovery issues, but they were unprepared to do so; on November 14, 2024, the District sent a

letter again requesting that Plaintiffs’ identify purportedly outstanding discovery issues, Def.’s

Ex. 1; on December 16, 2024, Plaintiffs sent a letter identifying purported deficiencies in the

District’s discovery responses and stated that they intended to file a motion to compel “as soon

as practicable,” Def.’s Ex. 2; and, on January 13, 2025, the District responded to the December

16 Letter, and for the most part, categorically rejected Plaintiffs’ arguments, making clear that

the Parties were at an impasse to the extent Plaintiffs intended to continue to pursue the disputed

requests, Def.’s Ex. 3. Plaintiffs have never responded to the District’s January 13 Letter.

       On February 12, 2025, Plaintiffs served their sixth set of requests for production, with the

District’s responses due on the final day of discovery, and on February 13, 2025, Plaintiffs

served their fourth set of interrogatories, with the District’s responses due after the close of

discovery. On February 27, 2025, Plaintiffs served a Rule 30(b)(6) deposition notice, and fifteen

deposition notices for fact witnesses. The noticed dates included March 12, 13, and 14, which



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presumably meant that counsel for Plaintiffs were available on those dates. After conferral,

Plaintiffs narrowed their list of fact depositions to four witnesses. Other than one witness who is

currently on extended leave, the District promptly confirmed that the other three witnesses were

available on March 12, 13, and 14. As of the time of this filing (approximately 9:20 p.m. on

March 11), Plaintiffs have failed to confirm a deposition date and time for any witness.

       Also on February 27, 2025, Plaintiffs filed the present motion. Pls.’ Mot. for

Reconsideration of the Op. on Def.’s Mot. to Dismiss or, in the Alternative, Leave to Amend the

First Am. Compl. [107] (Pls.’ Mot.).

                                      LEGAL STANDARDS

  I.   Motion for Reconsideration

       “[T]he judicial interest in finality typically disfavors reconsideration,” and such motions

should only be granted “as justice requires.” Montgomery v. IRS, 356 F. Supp. 3d 74, 79 (D.D.C.

2019), aff’d, 40 F.4th 702 (D.C. Cir. 2022). “The ‘as justice requires’ standard may be met

where the district court has ‘patently’ misunderstood the parties, strayed far afield of the issues

presented, or failed to consider a controlling or significant change in the law or facts since the

submission of the issue.” Estate of Gaither ex rel. Gaither v. District of Columbia, 771 F. Supp.

2d 5, 9 (D.D.C. 2011) (citation omitted). “Ultimately, the moving party has the burden to

demonstrate that reconsideration is appropriate and that harm or injustice would result if

reconsideration were denied.” Montgomery, 356 F. Supp. 3d at 79 (D.D.C. 2019). That is

because “[t]he efficient administration of justice requires that there be good reason for a court to

reconsider an issue already litigated by the parties: ‘Where litigants have once battled for the

court’s decision, they should neither be required, nor without good reason permitted, to battle for

it again.’” United States v. All Assets Held at Bank Julius, 502 F. Supp. 3d 91, 95 (D.D.C.



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2020), aff’d sub nom. United States v. All Assets Held at Credit Suisse (Guernsey) Ltd., 45 F.4th

426 (D.C. Cir. 2022) (quoting Isse v. Am. Univ., 544 F. Supp. 2d 25, 30 (D.D.C. 2008)). In the

D.C. Circuit, “it is well-established that motions for reconsideration … cannot be used as an

opportunity to reargue facts and theories upon which a court has already ruled, nor as a vehicle

for presenting theories or arguments that could have been advanced earlier.” Estate of Gaither,

771 F. Supp. 2d at 10 (quotations omitted).

 II.   Motion for Leave To Amend

       Under Rule 15, if responsive pleadings have been filed and the opposing party does not

consent, a party may amend its pleadings “only with … the court’s leave,” which should be

granted “when justice so requires.” Fed. R. Civ. P. 15(a)(2). Justice will not “require” a trial

court to grant leave to amend where there is “undue delay, bad faith, undue prejudice to the

opposing party, repeated failures to cure deficiencies, or futility [of the proposed amendment].”

Richardson v. United States, 193 F.3d 545, 548–49 (D.C. Cir. 1999). “[U]nder Rule 15, ‘the

non-movant generally carries the burden in persuading the court to deny leave to amend.’”

Robinson v. District of Columbia, 283 F.R.D. 4, 6 (D.D.C. 2012) (quoting Nwachukwu v. Karl,

222 F.R.D. 208, 211 (D.D.C. 2004)). The decision to grant or deny leave to amend is committed

to the “sound discretion” of the trial court. In re Interbank Funding Corp. Sec. Litig., 629 F.3d

213, 215 (D.C. Cir. 2010).

                                          ARGUMENT

 I.    Plaintiffs Have Failed To Show That “Justice” Requires Reconsideration of the
       February 22 Order.

       Plaintiffs’ motion for reconsideration should be denied because: (1) Asinor had no impact

on the Court’s analysis of the District’s motion to dismiss; (2) the Court did not misconstrue

Plaintiffs’ allegations in support of their Fourth Amendment claim; (3) the Court did not err in

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dismissing Plaintiffs’ takings claim; and (4) no clarification of the Court’s ruling on Plaintiffs’

procedural due process claim is necessary.

        A.      The Asinor Decision Does Not Undermine the Court’s Conclusion, It
                Reinforces It.

        Plaintiffs’ headline for why the Court should reconsider its opinion is that Asinor

constitutes “an intervening precedential opinion that has altered case law for this circuit.” Pls.’

Mot. at 1. Plaintiffs argue that the facts in Asinor “are strikingly similar” and that the Asinor

decision “bears directly on Plaintiffs’ Fourth Amendment claims and touches on Plaintiffs’ Fifth

Amendment claims.” Id. at 14. But what Plaintiffs strikingly omit is how Asinor actually bears

on this Court’s prior decision. All they argue is that “the Court should reconsider its prior

holdings on both Plaintiffs’ Fourth Amendment claim and their Fifth Amendment takings claim

in light of the Asinor decision.” Id. at 15. In other words, they never explain what aspect of the

Court’s decision, if any, runs contrary to Asinor such that the Court ought to revisit its prior

opinion. There is a very simple explanation: This Court’s analysis and decision are fully

consistent with what the D.C. Circuit subsequently held in Asinor. As such, there is no basis for

this Court to revisit that prior decision.

        As Plaintiffs recount, in the motion to dismiss briefing, the District argued that “where an

initial seizure of property was reasonable, the government’s failure to return the items does not

state a separate Fourth Amendment claim of unreasonable seizure.” Def.’s Mem. in Supp. of

Mot. to Dismiss First Am. Compl. [22-1] (Def.’s Mem.) at 10 (quoting Bennett v. Dutchess Cty.,

832 Fed. App’x 58, 60 (2d Cir. 2020)); see also id. at 11 (collecting cases from the 1st, 7th, and

6th Circuits, as well as an opinion in this district by Judge Cooper); but see id. at 11 n.2 (noting

that the 9th Circuit had held otherwise). Plaintiffs, in contrast, argued that “[e]ven a seizure

reasonable at its inception can become unreasonable because of its duration.” See, e.g., Pls.’

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Opp’n to Def.’s Mot. to Dismiss First Am. Compl. [32] (Pls.’ Opp’n Mem.) at 8–9. The Court

considered these arguments and ultimately sided with Plaintiffs on this question, holding that “a

seizure of property for use as evidence that is valid at its inception may become unreasonable if

it outlasts its initial justification.” February 22 Order at 11 (citing Smith v. District of Columbia,

387 F. Supp. 3d 8, 25 (D.D.C. 2019)). However, the Court went on to clarify that even though

the Fourth Amendment could apply to property held after a reasonable seizure in some

circumstances, Plaintiffs’ claim in this case “goes far beyond what is cognizable as a matter of

Fourth Amendment law, even under Smith.” Id. at 12. As the Court held, “[i]t must be

reasonable, at a minimum, for the government to retain property seized as evidence for as long as

it is pertinent to an ongoing, lawful criminal investigation or prosecution.” Id. at 13. Summing

up, the Court reasoned that, based on “the allegations in the operative complaint, taken as true,”

“plaintiffs do not state a claim that those ongoing seizures, which were reasonable at their

inception, became unreasonable because of their duration.” Id. at 14.

       Approximately a year and a half later, the D.C. Circuit issued its ruling in Asinor.

Factually, the Asinor cases involved property seized pursuant to lawful arrests, but without any

associated criminal investigation or related criminal charges filed. 111 F.4th at 1251–52.

Ultimately, the D.C. Circuit held that “the Fourth Amendment requires that any continued

retention of [] personal property … must [] be reasonable.” Id. at 1251. The D.C. Circuit added,

however, that the government “can reasonably retain contraband or evidence in an ongoing

criminal investigation or trial,” and that “[n]othing in our holding limits the government’s ability

to used seized effects for legitimate law-enforcement purposes.” Id. at 1260–61.

       In essence, then, this Court accurately anticipated the Circuit’s holding in Asinor, by

rejecting the District’s argument that the Fourth Amendment is categorically inapplicable to



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retention of property, and proceeding to analyze whether Plaintiffs had stated a claim that such

continued retention of property was unreasonable. In other words, the Court has already

considered Plaintiffs’ Fourth Amendment claims under the doctrine which has now been laid out

in Asinor. And Asinor, of course, says absolutely nothing about the specific factual

circumstances of Plaintiffs’ claims. To the contrary, Asinor featured property that was retained

without any criminal investigation or charges, while this Court accurately observed that “all of

plaintiffs’ seized and retained property was pertinent to an ongoing criminal investigation or

prosecution.” February 22 Order at 14. As Asinor has no bearing on the actual reason for which

Plaintiffs’ Fourth Amendment claims were dismissed, and thus does not constitute a “controlling

… change in the law … since the submission of the issue,” Estate of Gaither, 771 F. Supp. 2d at

9, reconsideration should be denied.

         B.     The Court Correctly Construed Plaintiffs’ Fourth Amendment Claim.

         Once Plaintiffs’ misplaced reliance on Asinor is dispatched, it becomes the case that

Plaintiffs are seeking reconsideration of a more than two-year-old decision. In other words,

every argument addressed by the District below could have been made more than two years

ago—and before the Parties were on the cusp of completing fact discovery. Justice requires

rejecting Plaintiffs’ belated motion for reconsideration, not rewarding them for their years-long

delay.

         Plaintiffs’ alternative argument for reconsideration of the dismissal of their Fourth

Amendment claim is that the Court “misinterpreted” their allegations, Pls.’ Mot. at 1, in that

“[t]he Court erred when interpreting [their] Fourth Amendment claim as asserting a per se rule

that the government had no evidentiary interest in all seized property after processing or having a

reasonable opportunity to process evidence,” id. at 15. Now, they seek to clarify, “the Plaintiffs



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pleaded that the District has a policy or custom of holding property, initially seized and retained

as evidence, well beyond when it was reasonable to do so.” Id. They conclude that “[a]fter the

government processes evidence or a reasonable time has passed to do so, the government’s

legitimate investigatory or protective purpose should end, absent a reasonable governmental

interest in keeping the property.” Id. at 19.

       Plaintiffs’ arguments are clearly and plainly foreclosed. For one, Plaintiffs made

precisely the same points in their opposition to the District’s motion to dismiss. See Pls.’ Opp’n

Mem. at 11 (“The District has not articulated any justification for retaining the vehicles and the

smartphones past the point where they were processed for potential evidence.”); id. at 15

(“[O]nce a vehicle is processed for evidence and the evidence is preserved the government has

no further need to retain the vehicle.”) (citing Krimstock v. Kelly, 464 F.3d 246, 255 (2d Cir.

2006)). Because the Court has already considered and rejected this precise theory, it should

decline to reconsider it. Estate of Gaither, 771 F. Supp. 2d at 10.

       To the extent that Plaintiffs now attempt to season these repeated arguments with the fact

that the criminal investigations and prosecutions related to their property were of third parties,

and not of Plaintiffs themselves, see e.g., Pls.’ Mot. at 18–19, that is plainly an argument which

they already presented, see Pls.’ Opp’n Mem. at 14 (urging that “great weight” should be

accorded to the interests of the Plaintiffs as “innocent owners” of the seized property); id. at 16

(recounting the facts of the seizure of Ms. Parrott’s vehicle, including that the arrestee was a

different person). Perhaps Plaintiffs believe they can reargue their point more persuasively by

emphasizing these facts, but that is not a legitimate basis for a motion for reconsideration. See

Estate of Gaither, 771 F. Supp. 2d at 9 (rejecting motion for reconsideration which “raises

arguments that should have been, but were not, raised in their underlying Motion”); see also All



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Assets Held at Bank Julius, 502 F. Supp. 3d at 98 (“Judges are not like pigs, hunting for truffles

buried in briefs or in the record.”) (quoting Jeffries v. Barr, 965 F.3d 843, 861 (D.C. Cir. 2020)).

       In any case, even if the Court were to consider these additions to Plaintiffs’ opposition

(which was, again, filed more than two years ago), they would not require a different result. The

Court’s decision did not in any sense rely on whether the owner of seized property was also the

target of a pending criminal investigation or the defendant in a criminal matter. Instead, the

Court held that “the allegations in the amended complaint belie any notion that the property

seized was not pertinent to an ongoing investigation or prosecution.” February 22 Order at 14

(emphasis added). Indeed, the Court fully recognized that none of the named Plaintiffs were

directly targeted by the cited investigations and prosecutions. Id. On this point, the Court’s

holding was far more nuanced than Plaintiffs’ motion presents it. Plaintiffs attempt to paint the

Court as having held that “a piece of evidence has evidentiary value until a prosecutor says

otherwise—even when there is no arrest, no charges filed, there is no investigatory purpose, and

where the owner of the property is a third party.” Pls.’ Mot. at 18. The Court said no such thing.

Rather, it held only that it is reasonable for the government “to retain property seized as evidence

for as long as it is pertinent to an ongoing, lawful criminal investigation or prosecution.”

February 22 Order at 13. Thus, the Court plainly left open the possibility that, in circumstances

unlike Plaintiffs’ own cases—for example, in cases like Asinor—the retention of property might

not be reasonable, no matter if “a prosecutor says otherwise.” As such, Plaintiffs’ protestation

that the Court’s holding leaves “prosecutors [as] the arbiter of whether property can be returned,”

Pls.’ Mot. at 19, is a red herring, and should be disregarded as facially untrue, inapplicable, and

no real basis to reconsider.




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       C.      The Court’s Takings Clause Analysis Was Correct.

       Plaintiffs also seek to revive their Fifth Amendment Takings Clause claim. First, they

argue that Asinor requires its resuscitation. Second, they argue that already rejected legal

theories should do the same. Neither argument has merit.

               1.      Asinor Provides No Basis For Reconsidering the Court’s Taking
                       Analysis.

       Plaintiffs correctly concede that Asinor, at best, only touches on the Takings Clause

“sparingly.” Pls.’ Mot. at 20. In fact, it did not make any ruling whatsoever with respect to the

Takings Clause. Rather, Asinor merely identified Tate v. District of Columbia, 627 F.3d 904

(D.C. Cir. 2010) as a case that the District had argued demonstrated the lack of a Fourth

Amendment claim for unduly retained property; however, the D.C. Circuit observed that the

circumstances were so different that “Tate sheds little light on this case.” 111 F.4th at 1260.

Asinor plainly did not set forth any new interpretation of the Takings Clause through its

invocation of Tate. Accordingly, there is no reason to read Asinor as “controlling” law that

requires reconsideration of this Court’s Takings Clause analysis. See Estate of Gaither, 771 F.

Supp.2d at 9. Indeed, Plaintiffs’ argument to the contrary does not actually discuss the holding

in Asinor at all. It instead consists wholly of a discussion of Tate—arguments that could have

been made in their opposition, which already addressed Tate. See Pls. Opp’n Mem. at 54

(arguing that “Tate is distinguishable because it does not address the seizure of property in

connection with criminal investigations”).

       Even if considered, Plaintiffs’ reliance on Tate is misplaced. Plaintiffs correctly note that

in Tate the D.C. Circuit held that there was no unlawful taking and therefore no compensation

due, but they go on to make the completely unsupported leap that “[i]f the taking occurred

without due process, then a taking claim lies.” Pls.’ Mot. at 21. To the contrary, as this Court

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held, “every Circuit to consider the question has held that the seizure and retention (or even

destruction) of property pursuant to a valid exercise of the police power can never constitute an

unlawful taking, even outside the forfeiture context.” February 22 Order at 28 (collecting cases).

As to seizure, the Court correctly noted that “the initial seizure of that property was lawful,” id.

at 30, and as to retention, Plaintiffs’ Fourth Amendment attack on the District’s police power

was unavailing. Id. Simply put, whether Plaintiffs have adequately alleged that the District does

not afford them an adequate procedure under due process to seek the return of their property has

nothing to do with whether the District had a valid basis for utilizing the police power to seize

and retain property.

               2.      Plaintiffs’ Fail To Justify Revisiting the Court’s Takings Holding.

       Expanding on this theme, Plaintiffs then shift their scope to attack the Court’s takings

analysis on its own terms. First, Plaintiffs take particular exception to the notion that their

property “was taken or kept for a criminal prosecution,” and that they therefore had given the

Court no reason to hold that the continued retention of such property could constitute a seizure

prior to the termination of an associated criminal case. Pls.’ Mot. at 21. Once again, Plaintiffs

overstate the Court’s actual holding. The Court correctly held that “the allegations in the

amended complaint belie any notion that the property seized was not pertinent to an ongoing

investigation or prosecution.” February 22 Order at 14 (emphasis added).

       Next, Plaintiffs urge the Court to reconsider its analysis on the basis of a trio of circuit

court opinions. See Pls.’ Mot. at 22–24 (citing Baker v. City of McKinney, 84 F.4th 378 (5th Cir.

2023), reh’g en banc denied 93 F.4th 251 (Feb. 14, 2024); Slaybaugh v. Rutherford Cnty., 114 F.

4th 593, 597 (6th Cir. 2024), reh’g en banc denied Oct. 16, 2024; and Yawn v. Dorchester Cnty.,

1 F.4th 191, 195 (4th Cir. 2021)). Besides the fact that each of these cases are from outside this


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Court, none of them actually supports Plaintiffs’ legal theory, or contradicts this Court’s

holding. 1

        First, Plaintiffs cite Baker, a case in which the Sixth Circuit found there was no taking

and denied en banc review, with the Supreme Court also denying certiorari. Nevertheless,

Plaintiffs urge the Court to consider Justice Sotomayor’s statement concurring in denial of

certiorari in which she quotes the background principle of Armstrong v. United States, 364 U.S.

40, 49 (1960) that the “Takings Clause was designed to bar Government from forcing some

people alone to bear public burdens which, in all fairness and justice, should be borne by the

public as a whole.” Pls.’ Mot. at 22 (citation omitted). This citation is not novel law; Plaintiffs

had the opportunity themselves to address the underlying holding of Armstrong in their prior

briefing. See Pls.’ Opp’n Mem. at 53.

        Similarly, Plaintiffs point to Slaybaugh as a case in which “[t]he Sixth Circuit also []

rejected a categorical ‘police power’ exception to the Fifth Amendment,” Pls.’ Mot. at 23, and

cite Yawn for the proposition that the Fourth Circuit rejected the same “notion that the use of the

police power immunizes the government from a takings claim,” id. But even with these new

citations, Plaintiffs are merely shadowboxing against the District’s motion to dismiss, not the

Court’s actual holding in the February 22 Order. While the District did argue that use of the

police power could not, as a categorical rule, give rise to a taking, the Court held that it “need not

accept the District’s argument in every particular.” February 22 Order at 28. And as a result, the

Court did not dismiss Plaintiffs’ Takings Claim on the sole basis that there was a per se rule that



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        The Court should also specifically decline to consider Yawn because it was issued over a
year before Plaintiffs’ motion to dismiss opposition brief was filed, and thus was fully available
for them to argue at that time, rather than saving it for now. See Estate of Gaither, 771 F. Supp.
2d at 10.

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use of police powers are not takings. Rather, the Court assessed that, even under caselaw such as

Frein v. Pa. State Police, 47 F.4th 247 (3d Cir. 2022), in which the Third Circuit did not find any

such absolute bar to a takings claim, Plaintiffs’ allegations in this case do not state a claim. See

February 22 Order at 29–30. In any case, Plaintiffs completely fail to engage with persuasive

holdings in other Circuits which clearly indicate, under more similar factual contexts, that the

actions at issue here are not takings. See, e.g., Lafaye v. City of New Orleans, 35 F.4th 940, 943

(5th Cir. 2022) (“[T]o allege a cognizable takings claim, a plaintiff must challenge action that

would have been legal if only it had been compensated.”); Ostipow v. Federspiel, 824 Fed.

App’x 336, 342 (6th Cir. 2020) (“The weight of authority holds that claims emanating from the

use of police power are excluded from review under the Takings Clause.”); Lech v. Jackson, 791

Fed. Appx. 711, 717 (10th Cir. 2019) (“[W]hen the state acts to preserve the safety of the public,

the state is not, and, consistent with the existence and safety of organized society, cannot be,

burdened with the condition that the state must compensate affected property owners for

pecuniary losses they may sustain in the process.”) (quotations omitted)); Johnson v. Manitowoc

County, 635 F.3d 331, 336 (7th Cir. 2011); Acadia Tech., Inc. v. United States, 458 F.3d 1327,

1332–33 (Fed. Cir. 2006).

       In sum, even courts that have raised questions concerning the government’s ability to

hold private property pursuant to the police power recognize that there are clearly circumstances

in which such actions are not takings. Plaintiffs themselves seem to recognize that, making the

obvious concession that their argument “is not to say that the government should be prevented

from holding cars and cell phones that may be necessary for an investigation or prosecution.”

Pls.’ Mot. at 24. But that was the essence of this Court’s actual conclusion two years ago, since




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“each of the plaintiffs’ property is or was being retained as evidence in a criminal proceeding

that is ongoing or still in contemplation.” February 22 Order at 29–30.

       D.      No “Clarification” of the Court’s Due Process Analysis Is Warranted.

       Plaintiffs’ final argument, which seeks to revive certain aspects of their due process

claim, is clothed in the guise of merely seeking “clarification” as to the scope of the Court’s

holding. But “[t]he general purpose of a motion for clarification is to explain or clarify

something ambiguous or vague, not to alter or amend.” United States v. All Assets Held at Bank

Julius, Baer & Co., Ltd., 315 F. Supp. 3d 90, 99 (D.D.C. 2018) (citation omitted).

       Plaintiffs, basically, seek the Court’s permission to pursue “money damages under § 1983

for an alleged deprivation of due process rights continuing beyond the date that any criminal case

was charged.” Pls.’ Mot. at 25. But the Court was clear: Ms. Parrott had plausibly stated a

claim only for a challenge to the retention of her property for the period before the institution of

a criminal proceeding. The entire crux of the Court’s analysis on this point was that Superior

Court Rule of Criminal Procedure 41(g) “does not apply—at least not reliably—where no

criminal case has ever been brought before the Superior Court.” February 22 Order at 16; see

also id. at 17 (evaluating “whether Superior Court Rule 41(g) is an available remedy at all . . .

where no criminal case has been charged”). As such, the Court noted that Ms. Parrott has

“standing at least to pursue money damages under § 1983 for an alleged temporary deprivation

of her due process rights,” id. at 16 n.5 (emphasis added), referring to the “delay of

approximately three months between the seizure and the institution of the criminal case in

Superior Court,” id. As the District argued in its motion to dismiss brief, Rule 41(g) provides an

adequate remedy for the return of property, including when a criminal case has been instituted.

See Def.’s Mem. at 29 (citing Cousart v. Metro Transit Police Chief, 101 F. Supp. 3d 27, 28



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(D.D.C. 2015); Wilson v. United States, 424 A.2d 130, 132 (D.C. 1980); Jenkins v. District of

Columbia, Civil Action No. 16-118, 2017 WL 6211103, at *4 (D.D.C. Mar. 28, 2017); Baird v.

Holton, 806 F. Supp. 2d 53, 58 (D.D.C. 2011)).

       Tacitly conceding the clear outline of the Court’s holding, Plaintiffs resort to another

swing at Rule 41(g), arguing that reconsideration would be warranted because “[e]ven assuming

Rule 41(g) is an adequate remedy in cases involving continued retention of a criminal

defendant’s vehicle, it is not adequate in cases involving seizures and prolonged retentions of

vehicles owned by innocent third parties like Plaintiffs.” Pls. Mot. at 26; but see All Assets Held

at Bank Julius, 315 F. Supp. 3d at 99 (“[S]uch a motion [for clarification] cannot open the door

to re-litigating a matter that the court has considered and decided.”) (quotations omitted).

Plaintiffs offer absolutely no support for this proposition. In fact, the protections of Rule 41(g),

such as “prompt access to a neutral magistrate and notice of their opportunity to be heard by that

magistrate,” Pls. Mot. at 26, are fully available to a third party just the same as to a criminal

defendant. See, e.g., Jenkins, 2017 WL 6211103, at *1–2 (noting that two of the plaintiffs were

third parties to the criminal prosecutions for which their property was seized). And it is not the

least bit odd that third parties are not afforded “prompt notice of the basis for the charges” when

they are not the ones being charged at all. Pls.’ Mot. at 26. Nor do Plaintiffs cite any case

suggesting that the District owes them the right to counsel for assistance in reclaiming their

property; the Sixth Amendment right to counsel applies to “the accused,” not to anyone who may

be aggrieved in some other manner by the proceeding. See U.S. Const. amend. VI. This point is

emblematic of Plaintiffs’ flawed conclusion, that it would be “absurd” if “the property rights of

criminal defendants merit greater protection than those of innocent owners;” there are simply




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different constitutional provisions protecting the rights of criminal defendants, and Plaintiffs are

not criminal defendants. Pls.’ Mot. at 27.

        Next, regarding the dismissal of Plaintiffs’ notice claims, Plaintiffs confusingly ask the

Court to clarify that ruling, although they “do not challenge [it] here.” Id. at 28. The necessity

of the Court doing so is left unstated. Rather, the Court conclusively held that Plaintiffs had

plausibly stated a claim to the extent that there was alleged to be insufficient notice of what

procedures were available to Plaintiffs to seek the return of their property, because it was

uncertain whether Rule 41(g) would apply, but that Plaintiffs had failed to state a claim that they

had not received notice of the seizure itself. See February 22 Order at 22–26. Because they

failed to adequately allege that they had not received notice of the seizure, it is obviously not the

case that any purported failure of the District to have a policy of providing notice “was the cause

the violation of the constitutional rights of Ms. Parrott, Mr. Joyner, and Mr. Iracks and the other

class members.” Pls.’ Mot. at 27 (quoting Am. Compl. ¶ 393). Maldonado v. District of

Columbia, 61 F.4th 1004, 1006 (D.C. Cir. 2023) is not on point here because, there, the plaintiffs

alleged that despite a policy of providing notice, they did not get it; here, regardless of the

policies regarding notice, Plaintiffs did get notice, or at least failed to state a claim that the

District had failed any obligation to provide it. February 22 Order at 23–25 (noting that the

District was not required to give immediate notice, and not enough time elapsed before Plaintiffs

became aware of the seizures to impute a failure on the District’s part to give notice within a

reasonable time). To the extent Plaintiffs are concerned about a lack of notice about “available

remedies,” Pls’. Mot. at 28, that aspect of their notice claim is clearly live, insofar as the pivotal

question is whether Rule 41(g) applies to Plaintiffs or not. See February 22 Order at 26.




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II.    Plaintiffs’ Motion for Leave to Amend Should Be Denied.

       A.      Leave to Amend Is Not Warranted Under Rule 15(a).

       Lastly, Plaintiffs offer the passing suggestion that, “[i]f the Court believes that the

Complaint, as currently drafted, cannot support [their] understanding of Counts I or V, then

Plaintiffs would respectfully request leave to file an amended complaint clarifying the nature of

this claim [sic].” Pls.’ Mot. at 29. Leave should be denied.

       Under Rule 15(a), leave to amend may be denied where there has been “undue delay,”

“bad faith or dilatory motive on the part of the movant,” or “undue prejudice to the opposing

party by virtue or allowance of the amendment.” Philipp v. Stiftung Preussischer Kulturbesitz,

Civil Action No. 15-00266, 2021 WL 3144958, at *6 (D.D.C. July 26, 2021), aff’d, 77 F.4th 707

(D.C. Cir. 2023). All three apply here.

       First, “[l]eave to amend is properly denied when the plaintiff was aware of the

information underlying the proposed amendment long before moving for leave to amend the

complaint.” Id. at *7; see also Savignac v. Jones Day, 341 FRD 120, 124 (D.D.C. 2022); Heller

v. District of Columbia, 290 FRD 1, 4 (D.D.C. 2013); Unique Industries, Inc. v. 965207 Alberta

Ltd., 764 F. Supp. 2d 191, 207–08 (D.D.C. 2011). As explained above, at best, Plaintiffs have

possessed the basis for their motion for leave to amend for at least six months, but in reality, they

have known the basis for more than two years.

       Second, the timing of Plaintiffs’ motion is, at a minimum, curious, as it comes when

Plaintiffs have failed to do what they told the Court they would do—imminently—in their

October 2, 2024 motion to extend discovery. That is, Plaintiffs have failed to diligently litigate

this case. Conveniently, if Plaintiffs were granted leave to amend, which would presumably be

accompanied by another request to extend discovery, any extension of discovery to account for



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amendment of the Complaint would effectively excuse their lack of diligence concerning

discovery during the last 12 months.

       Third, the District would suffer undue prejudice if Plaintiffs were allowed to amend their

Complaint to add new claims as fact discovery was about to close. The claims that Plaintiffs

propose to add, while similar to the existing claims in that they involve seized property

generally, are fundamentally different from the existing claims in terms of discovery. If

Plaintiffs had sought leave to amend, say, two years ago, then the District could have conducted

discovery into all claims at the same time, which obviously would have been more efficient. If,

for example, Plaintiffs were allowed to revive their Fourth Amendment and Takings Clause

claims, they would presumably seek additional discovery concerning MPD policies and

procedures and the District would likely have to go back to the same individuals and have those

individuals conduct separate searches when that could have been avoided. Plaintiffs conceded as

much when they argued in their motion to extend discovery that any motion for reconsideration

should be resolved sooner rather than later because “it would be much more convenient to all

involved if discovery were still open and accommodations could more easily be made for the

wider set of issues that would then be in play.” Pls.’ Mot. to Extend at 5.

       Finally, as outlined above, none of Plaintiffs’ legal arguments, even if considered, would

justify reversal of the Court’s prior ruling in dismissing those claims. The only new concrete

allegation they raise in this section of their brief is that “the case involving Ms. Parrott’s car has

ended.” Pls.’ Mot. at 29–30. But the mere status of a criminal matter is something the Court can

take judicial notice of if necessary. See Lewis v. Gov’t of D.C., 195 F. Supp. 3d 53, 56 n.3

(D.D.C. 2016). Plaintiffs offer no other corroborating factual support pertaining to this

amendment, such as the time period that has elapsed since that case concluded, or any efforts on



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Ms. Parrott’s part to seek the property’s return through Rule 41(g) or any other method. In the

absence of such necessary factual development, leave to amend should be denied. See Asinor,

111 F.4th at 1261 (“Moreover, even when there the government no longer has a valid reason to

retain lawfully seized property, we do not suggest that it must always return the property

instantaneously.”). Plaintiffs mention “additional facts supporting their claim discovered during

depositions and the discovery process,” Pls. Mot. at 13 n.6, but they do not explain what the facts

are, much less why any such facts would justify amendment in the face of legal futility. This

alone is grounds to deny the motion.

       B.      The Court Should Deny Leave to Amend for Failure To Comply with the
               Local Rules.

       Plaintiffs’ request for leave to amend should also be denied because Plaintiffs have failed

to comply with the local rules of this Court. Local Rule 15 requires that “[a] motion for leave to

file an amended pleading shall attach, as an exhibit, the copy of the proposed pleading as

amended.” See also Strumsky v. Washington Post Co., 922 F. Supp. 2d 96, 101 (D.D.C. 2013).

Here, Plaintiffs failed to file an amended pleading along with their motion to amend the

Complaint and failed to provide any explanation of their proposed amendments beyond

“clarifying the nature of [Counts I and V]” and the fact that “the case involving Ms. Parrott’s car

has ended.” Pls.’ Mot. at 29–30. Without a proposed amended complaint, the Court cannot

“evaluate the merits of [the] request for leave to amend.” Johnson v. District of Columbia, 49 F.

Supp. 3d 115, 122 (D.D.C. 2014); see also Alston v. Flagstar Bank, FSB, 609 Fed. App’x 2, 4

(D.C. Cir. 2015) (affirming denial of motion for leave to amend complaint where plaintiff did not

include amended complaint with filing).

       Additionally, Plaintiffs failed to comply with Local Rule 7(m). For non-dispositive

motions, Local Rule 7(m) requires counsel “to discuss the anticipated motion with opposing

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counsel in a good-faith effort to determine whether there is any opposition to the relief sought and,

if there is, to narrow the areas of disagreement.” Plaintiffs’ counsel contends that they “made

opposing counsel aware of Plaintiffs’ intention to file for reconsideration in light of the Asinor v.

District of Columbia decision,” Pls.’ Mot. at 33, but do not suggest that they complied with Rule

7(m) with respect to their motion for leave to amend.

                                             CONCLUSION

       For the foregoing reasons, the Court should deny Plaintiffs’ motion for reconsideration

and deny their motion for leave to amend.

Dated: March 11, 2025.                                Respectfully Submitted,

                                                      BRIAN L. SCHWALB
                                                      Attorney General for the District of Columbia

                                                      CHAD COPELAND
                                                      Deputy Attorney General
                                                      Civil Litigation Division

                                                      /s/ Matthew R. Blecher
                                                      MATTHEW R. BLECHER [1012957]
                                                      Chief, Equity Section

                                                      /s/ Honey Morton
                                                      HONEY MORTON [1019878]
                                                      Assistant Chief, Equity Section

                                                      /s/ Richard P. Sobiecki
                                                      RICHARD P. SOBIECKI [500163]
                                                      BRENDAN HEATH [1619960]
                                                      HELEN M. RAVE [90003876]
                                                      Assistant Attorneys General
                                                      400 6th Street, NW
                                                      Washington, D.C. 20001
                                                      (202) 805-7512
                                                      richard.sobiecki@dc.gov

                                                      Counsel for Defendant




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